          Entered on Docket July 19, 2021

                                                                Submitted But not Entered.

 1                                                             _____________________
                                                               Christopher M. Alston
 2                                                             U.S. Bankruptcy Judge
 3                                                              (Dated as of Entered on Docket date above)

      ORDER NOT ENTERED: No proof opposing party has approved the form of order. No prior order was
 4    entered so labeling this order as amended is incorrect. Proposed should not be in caption.

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     _________________________________________________________________
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                         UNITED STATES BANKRUPTCY COURT
11                  WESTERN DISTRICT OF WASHINGTON AT SEATTLE
12    IN RE:
                                                      Bankruptcy No. 18-14820 CMA
13          SAMIA EL-MOSLIMANY,
                                                      Adv. Pro. No. 19-01034 CMA
14                              Debtor.

15                                                    AMENDED (for page margin) ORDER
      HAYAT SINDI,                                    GRANTING IN PART AND DENYING IN
16                                                    PART PLAINTIFF’S MOTION FOR
                                Plaintiff,            SUMMARY JUDGMENT
17                                                    [PROPOSED]
                     v.
18
      SAMIA EL-MOSLIMANY,
19
                                Defendant
20

21          THIS MATTER came before the Court upon Creditor Hayat Sindi’s Motion for

22    Summary Judgment against debtor Samia El-Moslimany.

23          It appearing that the Court has jurisdiction to consider the Motion, and the

24    Court, having considered the Motion, Defendant’s Response to Motion for Summary
25    Judgment, Plaintiff’s Reply in Support of Motion for Summary Judgment, the
26    Declaration of Anthony Wisen filed in support of the Motion, the Declaration of

      AMENDED (for page margin) ORDER
      GRANTING IN PART AND DENYING IN
      PART PLAINTIFF’S MOTION FOR
      SUMMARY JUDGMENT
      Case 19-01034-CMA Doc 35 Filed 07/19/21                  Ent. 07/19/21 09:49:03           Pg. 1 of 3
                                                          Submitted But not Entered.

 1
     Samia El-Moslimany in opposition to the Motion, and the other pleadings of record,
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     and having heard oral argument on July 23, 2020 at which the Court made findings
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     of fact and conclusions of law. Now, therefore:
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 5         THIS COURT FINDS:

 6         1.     The Defendant caused injury to the Plaintiff by publishing one or more
 7   defamatory statements about the Plaintiff, and Defendant is indebted to Plaintiff in
 8   the principal amount of $400,000 for this injury.
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           2.     The Defendant caused injury to the Plaintiff by intentionally interfering
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     with Plaintiff’s contractual relations, and Defendant is indebted to Plaintiff in the
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     principal amount of $576,000 for this injury.
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13         3.     The Defendant caused injury to the Plaintiff by intentionally inflicting

14   emotional distress upon Plaintiff, and Defendant is indebted to Plaintiff in the
15   principal amount of $100,000 for this injury.
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           4.     That making all reasonable inferences in favor of the Defendant, there is
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     a disputed question of fact as to whether Defendant’s actions were “willful” within
18
     the meaning of 11 U.S.C. §523(a)(6).
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20         5.     That making all reasonable inferences in favor of the Defendant, there is

21   a disputed question of material fact as to whether Defendant’s actions were

22   “malicious” within the meaning of 11 U.S.C. § 523(a)(6).

23
           THEREFORE, IT IS HEREBY ORDERED:
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           1.     Plaintiff’s Motion for Summary Judgment is DENIED with respect to the
25
     willful and malicious prongs of 11 U.S.C. § 523(a)(6).
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     PART PLAINTIFF’S MOTION FOR
     SUMMARY JUDGMENT
     Case 19-01034-CMA Doc 35 Filed 07/19/21             Ent. 07/19/21 09:49:03    Pg. 2 of 3
                                                          Submitted But not Entered.

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           2.      Plaintiff’s Motion for Summary Judgment is GRANTED with respect to
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     whether Defendant injured Plaintiff for purposes of 11 U.S.C. § 523(a)(6). There being
 3
     no disputed issues of material fact on these issues, Defendant is barred by principles
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 5   of collateral estoppel from re-litigating or defending herself at trial from the claims

 6   of Defamation, Intentional Interference with Contractual Relationship, and

 7   Intentional Infliction of Emotional Distress, or the amount of damages she is indebted

 8   to Plaintiff by virtue of those torts.

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           3.      The Court’s oral ruling was delivered in open court on July 23, 2020,
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     which is hereby incorporated into this Order by reference.
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           4.      This matter will proceed to trial on the only remaining issues of whether
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     the injuries sustained by Plaintiff were willful and malicious under 11 U.S.C. §
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14 523(a)(6).

15                                   ///END OF ORDER///

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     Presented by:
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     LoGERFO GARELLA, PLLC
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20

21   By:    _ /s/ Elena Garella ____________
           Elena Luisa Garella, WSBA 23577
22         605 1st Avenue, Suite 250
           Seattle, WA 98104
23
           (206) 675-0675
24         egarella@gmail.com

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      Case 19-01034-CMA Doc 35 Filed 07/19/21             Ent. 07/19/21 09:49:03    Pg. 3 of 3
